                        Case 2:23-cv-07074-BSL-MBN
                                              State ofDocument 1-1 Filed 11/28/23 Page 1 of 41
                                                        Louisiana
                                                     Secretary of State

                                                                                                    Legal Services Section
                                                              11/16/2023                 P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                         (225) 922-0415



     ATAIN SPECIALTY INSURANCE COMPANY
     MANNY MANUELIDIS           E
     KAUFMAN FINANCIAL CENTER    —
     30833 NORTHWESTERN HIGHWAY
     FARMINGTON HILLS, MI 48334


     Suit No.: 846082
     24 TH JUDICIAL DISTRICT COURT
     JEFFERSON PARISH


     D AND A PROPERTY MANAGEMENT, INC.
     vs
     ATAIN SPECIALTY INSURANCE COMPANY



     Dear Sir/Madam:

     | am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
     this document, please return it to the above address with a letter of explanation. All other questions regarding this
     document should be addressed to the attorney that filed this proceeding.




                                                                                     Yours very truly,

                                                                                     R. KYLE ARDOIN
                                                                                     Secretary of State




Served on:    R. KYLE ARDOIN                                           Date: 11/15/2023
Served by:    B. GARAFOLA                                              Title: DEPUTY SHERIFF



                                                                                                    No: 1310407


TG

                                                                   EXHIBIT
                                                                                                          LT
                                                                     "A"
OOOHCase 2:23-cv-07074-BSL-MBN
            e                        An
                               Document 1-1 Filed 11/28/23 Page 2 of 41

       (101) CITAFION: PETITION FOR DAMAGES AND DEMAND FOR JURY
      TRIAL; EXHIBIT- STANDING CASE MANAGEMENT ORDER/ EXHIBIT-
      ORDER FOR DISCOVERY PROTOCOLS/ EXHIBIT- INTERIM PROTECTIVE                                                   231031-3048-2
      ORDER/ EXHIBIT- STANDING CASE MANAGEMENT ORDER-EXHIBIT A/
      EXHIBIT- STANDING ORDER

                                                    24TH JUDICIAL DISTRICT COURT
                                                        PARISH OF JEFFERSON
                                                         STATE OF LOUISIANA
~      DAND A PROPERTY MANAGEMENT INC                                                          Case: 846-082     Div: "I"
          versus                                                                               P1   DANDA      PROPERTY
      ATAIN SPECIALTY INSURANCE COMPANY                                                        MANAGEMENT INC

       To: ATAIN SPECIALTY INSURANCE COMPANY
      THROUGH ITS REGISTERED AGENT FOR SERVICE
      OF PROCESS:                          SERVED oy SOS CK #8957 $50.00
      LOUISIANA SECRETARY OF STATE       KYLE   AR papEBR CK #8958 $40.44
      8585 ARCHIVES AVENUE
      BATON ROUGE LA 70809                HOY 15 2003
                                                                    SECRETARY op         o ‘
     PARISH OF JEFFERSON                                          COMMERCIAL DION
     You are hereby summoned to comply with the demand contained in the PETITION FOR
     DAMAGES AND DEMAND FOR JURY TRIAL of which a true and correct copy accompanies
     this citation, or make an appearance either by filing a pleading or otherwise, in the 24th
     Judicial District Court in and for the Parish of Jefferson, State of Louisiana, within TWENTY-
     ONE (21) CALENDAR days after the service hereof, under penalty of default.

    This service was requested by attorney WILLIAM P. LOGAN and was issued by the Clerk of
    Court on the 31st day of October, 2023.


                                                          [s/ Karen F Mcevers
                                                          Karen F Mcevers, Deputy Clerk of Court for
                                                          Jon A. Gegenheimer, Clerk of Court



                                                              SERVICE INFORMATION

      (101) CITATION: PETITION FOR DAMAGES AND DEMAND FOR JURY
     TRIAL; EXHIBIT- STANDING CASE MANAGEMENT ORDER/ EXHIBIT-
     ORDER FOR DISCOVERY PROTOCOLS/ EXHIBIT- INTERIM PROTECTIVE                                                   231031-3048-2
     ORDER/ EXHIBIT- STANDING CASE MANAGEMENT ORDER-EXHIBIT A/
     EXHIBIT- STANDING ORDER
    Received:                     Served:                     Returned:

    Service was made:
                     Personal                       Domicitary

    Unabie to serve:
‘                Not     at this address            Numerous attempts            times
                 ___ Vacant                         Received too late to serve
                 ___ Moved                          No fonger works at this address
                 __No such address                  Need apartment / building number
                 —. Other

    Service: $                       Mileage: $,                     Total: $

    Completed by:                                                                #
                                   Deputy Sherlft
    Parish of:




                                       Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
    Page 1 of 1                                           :
                        Case 2:23-cv-07074-BSL-MBN Document 1-1 Filed 11/28/23 Page 3 of 41



                               2474 JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON                                   25
                                                               STATE OF LOUISIANA
                       NEW            - ORD                                                                  a
                                                D & A PROPERTY MANAGEMENT, INC,
                                                             VERSUS
                                              ATAIN SPECIALTY INSURANCE COMPANY
                      FILED:
                                                                                                   DEPUTY CLERK
                                    PETITION FOR DAMAGES AND DEMAND FOR JURY TRIAL

                               NOW INTO COURT, through undersigned counsel, comes Petitioner,               D & A Property




                                                                                                                                            -
                                                                                                                                24th E-Filed: 08/27/2023 00:41 Case: 846082 Div:l Atty:039259 WILLIAM P LOGAN
                      Management,      Inc, (“Petitioner”), and files this Petition against Defendant,     Atain Specialty

                      insurance Company (“Defendant” or “Atain”), respectfully averring as follows:

                                                                   I. PARTIES
                         1. Made Plaintiff herein is      D &     A PROPERTY          MANAGEMENT,        INC. a Louisiana
                             corporation domiciled in the State of Louisiana, authorized to do and doing business in the

                             Parish of Jefferson, State of Louisiana.

                         2. Made Defendant herein ATAIN SPECIALTY INSURANCE COMPANY                              (hereinafter
                             “Defendant”), upon information and belief, an insurer authorized to do and doing business

                             in the State of Louisiana and the Parish of Jefferson, which may be served through its

                             Registered Agent for Service of Process, Louisiana Secretary of State, 8585 Archives

                             Avenue, Baton Rouge, Louisiana 70809.

                                                         TI.     JURISDICTION AND VENUE
                        3.   Jurisdiction is proper in this Honorable           Court pursuant to Louisiana Code    of Civil

                             Procedure, Article 2.

                        4.   Venue is proper in this Honorable Court pursuant to Louisiana Code of Civil Procedure

                             Article 76.

                                                                It. RELEVANT FACTS

                        5.   At all relevant times, Petitioner owned     the laundromat located at 11329 Jefferson Hwy,

                             River Ridge, Louisiana, 70123 (the Property”).

                        6.   At all relevant times, Atain provided a policy of insurance, number BWPFO068615             (the

                             “Policy”), to Petitioner, which covered the Property against perils, including hurricanes, and

                             provided the following coverages: $370,000 for Building: inter alia.

                                                                        lof6é




JON A GECENHEIMER
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                           7.     On or around August 29, 2021, Hurricane Ida caused significa
                                                                                               nt damage to the Property.
                           8.     Petitioner promptly reported the loss to Atain, who assigned it
                                                                                                  claim number 2107878 (the
                                  “Ida Clainy”).

                           9.     As soon as practicable, Petitioner made efforts to mitigate the damages
                                                                                                             to the Property at its
                                  own expense to the best of its ability under the circumstances.

                           10.     On or about September 28, 2021, Defendant dispatched adjuster,
                                                                                                  Gary Hodge of Grey
                                  Consulting Group, to the Property and he documented             $10,076.95 in damages     to the
                                  building, but afler over depreciating the loss and applying
                                                                                            the Policy’s $7,400.0  0 deductible,
                                  Defendant allowed Petitioner only $961.02 for its substantial and covered
                                                                                                            losses..
                           11, Defendant’s inspection of the Property constilutes satisfactory proof of loss, as
                                                                                                                      thal term is




                                                                                                                                      24th E-Filed: 08/27/2023 00:41 Case: 846082 Div:l Atty:039259 WILLIAM P LOGAN
                                  used in conjunction with Louisiana’s bad faith statutes, La R.S. $$ 22:1892
                                                                                                              and 22:1973.
                           12. Petitioner was unable to make meaningful repairs to the Property with the meager
                                                                                                                proceeds
                                 allowed by Defendant.

                           13. Upon information and belief, Defendant failed to adequately compensate Petitioner
                                                                                                                 for its
                                 substantial and covered losses.

                          14. Defendant acted in Bad Faith by underpaying the Petitioner’s losses.

                          15. As a result, Petitioner was forced to incur the expense of retaining
                                                                                                   counsel and other

                                 expenses to prosecute its claim.

                         16. Thereafter, Petitioner retained ATA Loss Consulting (“ATA”) to inspect the
                                                                                                        Property and
                                 document their findings; ATA discovered damages lo the Property totaling $166,248.2
                                                                                                                     3.
                          17. On or about April 22, 2022, a demand for the release of unconditional tenders in the
                                                                                                                   amount
                                 of $166,248.23 was submitted to Defendant, along with the ATA estimate, photo
                                                                                                               report,
                                 and hover report, demonstrating Petitioner’s substantial and covered losses.

                          18. This submission constituted satisfactory proof of loss, as that term is used in conjunctio
                                                                                                                         n
                                 with Louisiana’s bad faith statutes, La R.S. $$ 22:1892 and 22:1973.

                          19.On      or about June    16, 2022, Plaintiff submitted    incurred     invoices in the amount     of
                                $42,133.75 for repairs to the Property, and on or about October 12, 2022, Petitioner

                                submitted additional incurred invoices     in the amount    of $4,528.00 for repairs to the

                                Property.

                         20. These submissions constituted satisfactory proof of loss, as that term is used in conjunction

                                with Louisiana’s bad faith statutes, La R.S. §§ 22:1892 and 22:1973.



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JON A, GEGENHEIMER
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           21. On or about December 16, 2022, Defendant issued
                                                               a payment to Petitioner in the amount of
               $37,482.07.

           22. As a result of Defendant’s failure to timely and adequat
                                                                        ely compensate Petitioner for its
              substantial and covered losses, the Property remains in a state
                                                                              of disrepair and Petitioner
              continues to incur out-of-pocket expenses.

          23. Upon information and belief, Defendant’s failure
                                                               to timely and adequately compensate
              Petitioner for its substantial and covered losses, after receivi
                                                                               ng satisfactory proof of loss,
              was purposeful or at least negligent.

          24. Upon information and belief, Defendant purposely and/or
                                                                      negligently misrepresented to
              Petitioner the terms and conditions of the Policy.




                                                                                                                24th E-Filed: 08/27/2023 00:41 Case: 846082 Div:| Aity:039259 WILLIAM P LOGAN
          25. Upon information and belief, Defendant conducted the
                                                                   investigation and claims handling
              for the Ida Claim in bad faith, as that term is used in conjunc
                                                                              tion with Louisiana’s bad faith
              Statutes, La R.S. $$ 22:1892 and 22:1973.

          26. Upon information and belicf, Defendant manipulated
                                                                 its pricing software to artificially
             suppress the cost of repairs below market value.

         27. Upon information and belicf, Defendant purposely or at
                                                                    least negligently failed to include
             adequate overhead and profit in its estimates of damages.

         28. Petitioner has incurred or will incur additional expenses in
                                                                          repairing the Property as a result
             of Defendant’s failure to timely and adequately compensate it for
                                                                               its substantial and   covered
             losses.

                                                IU. CAUSES OF ACTION

                                             A. Breach of the Insurance Contract

         29. Petitioner re-alleges and re-avers the allegations contained
                                                                          in the preceding paragraphs,

             above, as if restated herein.

         30. An insurance contract, the Policy, exists between Petitioner and
                                                                              Defendant.

         31. The Policy provides coverage for perils, including hurricanes.

         32. Despite having received satisfactory proof of loss for damages caused by
                                                                                      Hurricane Ida,
            Defendant failed to timely tender adequate insurance proceeds as required by the
                                                                                             Policy.
        33. By failing to timely tender adequate insurance proceeds after having
                                                                                 received satisfactory
            proof of a covered loss by way of its own inspection, Defendant breached
                                                                                     the Policy.




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                          34. By failing to timely tender undisputed insurance
                                                                                  proceeds after having received satisfactory
                              proof of a covered loss by way of its own inspect
                                                                                ions, Defendant breached the Policy.
                          35. By failing to timely tender undisputed insuran
                                                                             ce proceeds after having received satisfactory
                              proof of a covered loss by way         of the ATA    estimate, photo report, and supporting
                              documentation, Defendant breached the Policy.

                          36. By failing to timely tender undisputed insurance
                                                                               proceeds after having received satisfactory
                              proof of a covered loss by way of Petilioner’s incurre
                                                                                     d invoices for repairs to the Property,
                             Defendant breached the Policy.

                          37. By failing to timely tender adequate insurance procee
                                                                                    ds after having received satisfactory
                             proof of a covered loss by way of Petilioner’s incurred invoice
                                                                                             s for repairs to the Property,




                                                                                                                                24th E-Filed: 08/27/2023 00:41 Case: 846082 Div:! Atty:039259 WILLIAM P LOGAN
                             Defendant breached the Policy.
                                                                                           |
                         38. By purposely and/or negligently misrepresenting to Petitio
                                                                                        ner the terms and conditions of
                             the Policy, Defendant breached the Policy.

                         39. By failing to conduct the claims handling for Petitioner’s Ida
                                                                                            Claim in good faith and with
                             fair dealing, Defendant breached the Policy.

                         40. By manipulating its pricing software to artificially suppress the
                                                                                                 cost of repairs below market

                             value, Defendant breached the Policy.

                         41. By failing to include adequate overhead and profit in its estimat
                                                                                               cs of damages, Defendant
                             breached the Policy.

                         42. Petitioner has suffered and continue to suffer damages as a result of these breach
                                                                                                                es of the
                            Policy.

                                                                   B. Bad Faith

                         43. Petitioner re-alleges and re-avers the allegations conlained in the preced
                                                                                                        ing paragraphs,

                            above, as if restated herein.

                        44. The actions and/or inactions of Defendant in failing to timely and adequately compensate

                            Petitioner for its covered losses under the Policy were arbitrary, capricious, and withou
                                                                                                                      t
                            probable cause—as those terms are used in conjunction with La. R.S. §§ 22:1892 and

                            22:1973, making Defendant liable for statutory bad faith penalties.

                        45. Under La, R.S. 3 22:1973, an insurer owes a good faith duty and fair dealing to an insured

                            and has an affirmative duty to adjust claims fairly and promptly; failing to pay a claim in a

                            manner arbitrary, capricious or without probable cause is in violalion of La. R.S. $ 22:1973.


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            FESS
JON A GEGENHEIMER   10/31/2023 09:21:30 CERTIFIED TRUE COPY - Pg:4 of 8 - Jefferson Parish Clerk of Court - 1D:23157461
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                            46. “[Flailing to pay the amount of any claim due any person insured by the contract
                                                                                                                 within
                                sixty days after receipt of satisfactory proof of loss from the claimant when such failure
                                                                                                                           is
                                arbitrary, capricious, or without probable cause” is considered “bad faith” and is in violation

                                of La. R.S. $ 22:1973.

                            47. La. R.S. $ 22:1892 imposes bad faith penalties on insurers who fail to adequately
                                                                                                                    pay claims

                                following satisfactory proof of loss within thirty (30) days.

                            48. Defendant is in violation of La. R.S. §§ 22:1973 and 22:1892 for failing to provide Petitioner

                                imely and adequate payment in connection with the Ida Claim, despile having received

                                satisfactory proof of loss following its own inspection of the Property and following its

                               receipt of independent proofs of loss from Petitioner.




                                                                                                                                       P LOGAN
                            49. Defendant's misrepresentation of the relevant facts and/or the terms of the Policy was in

                               bad faith.




                                                                                                                                    Case: 846082 Div: Atty:038259 WILLIAM
                            50. Defendant's failure to pay timely for damages it knew, or should have known, existed at the

                               time of the initial adjustment of the Ida Claim was in bad faith.

                           51. Defendant's failure to pay timely and adequately for damages it knew, or should have

                               known, existed at the time it received the ATA estimate, photo report, and supporting

                               documentation was in bad faith.

                           52. Defendant’s manipulation of its pricing software to artificially suppress the cost of repairs




                                                                                                                                  24th E-Filed: 08/27/2023 00:41
                               below market value was in bad faith.

                           53. Defendant’s failure to include adequate overhead and profit in its estimates of damages was

                               in bad faith,

                           34. Defendant’s handling of the Ida Claim was in bad faith.

                                                                    IV, DAMAGES
                           35. Petitioner re-realleges and re-avers the allegations contained in the preceding paragraphs,

                               above, as if restated herein.

                           36. As a result of Defendant’s breaches of contract, bad faith claims adjusting, and other bad

                               acts, Petitioner has incurred the following, non-exclusive damages:

                                    a.   Diminution of the value of the Property;

                                    b.   Actual repair costs;

                                   c.    Reimbursement for repairs at the Property;

                                    d.   Business Interruption Losses;


                                                                         5 of 6




    “ZR E
JON A,   GECEMHEIMER
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               e.   Actual costs related to property manipulation, cleaning, repair, and/or replacemen
                                                                                                         t:
               f.   Penalties delineated in La. R.S. §§ 22:1892 and 22:1973; and

               g.   Altorney”s fees, other professional fees, and litigation costs associated with
                                                                                                   the
                    bringing of this action.

                                                  IV. JURY DEMAND

      57. Petitioner requests a trial by jury.

           WHEREFORE,          Petitioner,      D & A Property Management, Inc. prays that, Defendant,

   Alain Specialty Insurance Company, be served with a copy of this Pelilion, and after being
                                                                                              duly
   cited to appear and answer hereto, and after the expiration of all legal delays and due proceedin
                                                                                                     gs
   are had, thal there be judgment rendered herein in favor of Petitioner, and against Defendant, as




                                                                                                              24th E-Filed: 08/27/2023 00:41 Case: 846082 Div:J Atty:039259 WILLIAM P LOGAN
   alleged, together with lepal interest, and for all costs of these proceedings including expert witness

   fees to be taxed as costs of court, attorney’s fees and expenses, and for ali legal and equitable relief

  this honorable court shall deem appropriate.



                                               RESPECTFULLY SUBMITTED:
                                                lu. Paxkar demo.
                                               Galen M. Hair, La. Bar. No. 32865
                                               Y. Parker Logan, La. Bar No. 39259
                                             HAIR SHUNNARAH TRIAL ATTORNEYS, LLC.
                                             d/b/a INSURANCE CLAIM HQ              :
                                             d/b/a INSURANCE CLAIM LAWYERS, INC.
                                             3540 S. I-10 Service Rd., W, Ste. 300
                                             Metairie, Louisiana 70001
                                             Telephone: 504.684.5200
                                             Facsimile: 504.613.6351
                                             hair@hairshunnarah.com
                                             plogan @hstalaw.com


  PLEASE SERVE:

  Atain Specialty Insurance Company
  Through its Registered Agent for Service of Process:
  Louisiana Secretary of State
  8585 Archives Avenue
  Baton Rouge, LA 70809




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            Ls                                                12300758
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                                                           Michelle S. Bruner DY CLERK
                                                           JEFFERSON PARISH LA




                      24™ JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                   STATE OF LOUISIANA


                                             IN RE: HURRICANE IDA CLAIMS


                 FILED:
                                                                                            DEPUTY CLERK

                              STANDING CASE MANAGEMENT ORDER REGARDING
                      CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA

                          On August 29, 2020, Hurricane ida came ashore near Port Fourchon, Louisiana

                and traveled through Jefferson Parish. As a Category 4 (near 5) hurricane, it was the fifth




                                                                                                                                 BOOK 5014 PAGE 102
                strongest storm to ever impact the United States. Hurricane Ida tied the Last Island

                Hurricane in 1856 and Hurricane Laura in 2020 as the strongest to strike Louisiana, based

                on wind speed. The President of the United States issued a Declaration of a Major

                Disaster for the State of Louisiana on August 29, 2021. (See FEMA-4611-DR.) The




                                                                                                                               EFILE: 04/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 tr! 12300758 MORTGAGE
                Declaration expressly includes Jefferson Parish as an “adversely affected area by this

                major disaster." Major Hurricane-force winds, with gusts in excess of 155 mph, covered

                the entirety of Jefferson Parish, and inflicted catastrophic damage throughout this Court's

                jurisdiction. Hurricane Ida may sometimes hereinafter be referred to as the "Hurricane,"

                and   the causes     of action arising     therefrom      may     sometimes       be referred   to as   "the

                Hurricane Cases.”

                       in the aftermath of this catastrophic natural disaster, this Court recognizes that it

                will soon preside over substantial volumes of insurance coverage-related litigation linked

                to the Hurricane. Additionally, and like so many other courts across the globe, this Court

                has faced significant challenges to conducting court business for the better part of a year,

                as a result of the on-going COVID-19 pandemic. The residents and businesses of

                Louisiana have similarly struggled to cope with the negative economic impact of COVID-

                19, even before Hurricane Ida.




                3 https:/Avww.fema.gov/disaster-federal-register-notice/461 1-dr-fa-initial-notice


                                                 Standing Case Management Order
                                                         Hurricane Ida Litigation
                                                                     1

    cs                     01/05/2023 12:51:22 CERTIFIED TRUE COPY - Pg:1 of 14 - Jefferson Parish Clerk of Court: 231839
JON A. GEGENHEIMER
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    ;                                      12300758




          In the weeks following Hurricane Ida, many related lawsuits will be filed and be

pending      before this Court. In Act 318 of the 2020 Regular Session            the Louisiana

Legislature amended the laws expanding judicial authority related to special masters and

mandatory mediation in cases stemming from certain major disasters ("Act 318").?

         Act 318 authorizes this Court to enter this CMO, and after consultation with and

upon the recommendation of the Special Master and in consideration of the high volume

of cases from Jefferson Parish in state and federal courts, this Court finds it warranted to

enter this CMO to best accommodate the adjudication of Hurricane Cases in this Court.

         Accordingly, this Court's aim continues ta be the just and expedient resolution of




                                                                                                                     BOOK 5014 PAGE 102
these related matters, in spite of the increased strain on the Court's resources, and with

the primary goal of enabling the Jefferson Parish community to move forward with crucial

recovery efforts, in the aftermath     of Hurricane    Ida, and the COVID-19       pandemic.    In

consideration of these aims and the law, after due consideration of the Case Management




                                                                                                           EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 1112300758 MORTGAGE
Orders and discovery protocols implemented by the 14th Judicial District Court and the

U.S. District Court for the Westem     District of Louisiana following Hurricanes Laura and

Delta, the 24" Judicial District Court issues the instant Case Management Order, to-wit:

          IT IS   HEREBY     ORDERED       that this   Case   Management       Order   shall   be

immediately applicable to all Hurricane Cases.

             SECTION 4. DISASTER PROTOCOLS FOR INITIAL DISCOVERY

         The Court has reviewed the Disaster Litigation Initial Discovery Disaster Protocols

adopted by 14th Judicial District Court and the U.S. District Court for the Western District

of Louisiana following Hurricanes Laura and Delta filed in those courts. The Federal Court

considered the Disaster Protocols implemented by the U.S. District Court for the Southern

District of Texas following Hurricane Harvey. The 14th Judicial District Court considered

the Disaster Protocols implemented by the Federal Courts. These Disaster Protocols call

for prompt    sharing of specific information to promote      uniformity,   to facilitate prompt

evaluation of each case, to fester communication between the parties, and to facilitate an




2 See La. R.S. 13:4165(F).

                                Standing Case Management Order
                                      Hurricane Ida Litigation
                                               2

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             a                              |                   12300758




                 expedited mediation procedure. Accardingly,                                       2, this Court issued a
                 Standing      Order   for Disaster    Discovery     Protocols    in Certain     Property   Damage     Suits

                 Arising from Hurricane Ida ("Disaster Discovery Protocols") therefore,

                          iT §S FURTHER ORDERED that the Disaster Discovery Protocols Initial Discovery

                 Protocols are deemed           incorporated into this CMO        jn extenso and are applicable to all

                -Hurricane Cases filed in this Court. The.disclosures and exchange of information required

                 by the Disaster Discovery Protocols Order issued on                                          22 shall be
                 due forty-five (45) days from the date that defendant files responsive pleadings.                      This

                 deadline may sometimes hereinafter be referred to as the “Disclosure Deadline.” No




                                                                                                                                      BOOK 5014 PAGE 102
                 éxtension or delay in the time to file responsive pleadings shall extend the Disclosure

                 Deadline to more than 75 days from the original déadiine to file responsive pleadings

                 unless the extension is by the consent of all parties or pursuant to an express Order of

                ‘the Court.




                                                                                                                                 EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300758 MORTGAGE
                          IT   18   FURTHER       ORDERED        that     each   party   shall   supplement   their    initial

                 Disclasures at least fifteen (15) days prior lo any scheduled mediation pursuant to the

                ‘CMO,
                          Nothing in this Section prevents other discovery in accordance with the provisions

                 of the Code of Civil Procedure, except that requests for subpoenas and subpoenas duces

                 fecum shall not be submitted during the SSP without pre-approval of the Special Master

                or leave of the Court.

                                SECTION 2. SPECIAL MASTER AND APPOINTED NEUTRALS

                          Considering the feregoing reasons supplied by the Court in the introduction. supre,

                the Court finds that exceptional circumstances exist which warrant the appointment of a

                 Special Master to assist with the efficient and fair administration of all Hurricane Cases.

                 Pursuant to the Court's inherent judicial power and its authority under La, R.S, 13:4165,

                et seq,

                          iT IS FURTHER           ORDERED          that   JONATHAN        C.     PEDERSEN,     BLAIR       C.

                CONSTANT            and DONALD        MASSEY,      are hereby appointed as the Special Masters

                 (hereinafter “Special Master”) for Hurricane Cases in the 24th Judicial District Court.



                                                      Standing Case Management Order
                                                           Hurricane Ida Litigation
                                                                      3


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                           As part of this appointment, the Court mandates that the Special Master shall

                     proceed with all reasonable         diligence, and shall exercise the respective rights and

                     responsibilities to direct the Streamlined Settlement Process (“SSP”) as provided in this

                 Order,

                           IT IS HEREBY FURTHER ORDERED that the Appointed Neutrals, referenced in

                 Section 3{B)(2)(a), infra, are hereby appointed and shall proceed with all reasonable

                 diligence and shall exercise their rights and                  responsibilities under the Streamlined

                 Settlement Process ("SSP") as the Special Master may direct.

                           A.     The Special Master.          The Special Master shall administer, coordinate, and




                                                                                                                                                   BOOK 5014 PAGE 102
                           preside over the SSP. This authority includes the power to order parties and/or

                           party representatives with full power of settlement to submit briefings, engage in

                           discovery, and attend settlement conferences. Nothing in this part shall prevent

                           regular formal discovery or motions to compel to be filed with and heard by the




                                                                                                                                 EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300758 MORTGAGE
                           assigned District Judge.


                           B.     Compensation of Special Master and Appointed Neutrals.                        The Special

                           Master and all other appointed neutrals under the SSP (the “Appointed Neutrals")

                           shall be compensated in the amount of:

                                  (1)      $400 per hour for the Special Master:

                                  (2)      $400 per hour for the Appointed Neutrals;

                                  (3)      $250 per case for the Special Master for administrative expenses in
                                           administering, scheduling, organizing, and coordinating the
                                           Streamlined Settlement Process for each case amongst the parties
                                           as well as with the Appointed Neutrals and shall be paid by the
                                           parties at the time their respective initial pleadings are filed; and

                                 (4)       All actual expenses of the Special Master and Appointed                   Neutrals,
                                           including    but   not    limited   to travel,     meeting   rooms   and     video
                                           conference means.

                           Unless otherwise directed by mutual agreement of the parties or as otherwise
                          directed by the Special Master, all of the above fees and expenses shall be paid
                          twenty-five     percent   (25%)     by    the   plaintiffs)   and   seventy-five   (75%)     by the
                          defendant(s).




                                                       Standing Case Management Order
                                                             Hurricane Ida Litigation
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          €.     Role of Special Master and Appointed Neutrals

                 (1)    The Special Master and Appointed Neutrals may communicate ex
                        parte with the Court when deemed appropriate by the Court, or the
                        Special Master, without providing notice to the parties, including
                        communication certifying that the parties have complied with the
                        requirements of the SSP.

                 (2)    The Special Master and Appointed Neutrals may initiate contact and
                        communicate with counsel for any party as he or she deems
                        appropriate with respect          to      the   efficient   administration   and
                        management of the SSP.

                (3)     The Special Master and Appointed Neutrals, the parties, and those
                        assisting the foregoing shall be bound by the confidentiality of the
                        settlement discussions.




                                                                                                                 BOOK 5014 PAGE 102
                (4)     The Special Master may designate any of the Appointed Neutrals to
                        act as his deputy from time to time and to perform any duties of the
                        Special Master.

          D.    Notice of Opt-Out Motion to the Special Master, Any party to a Hurricane
                Case may file a motion with the assigned District Judge requesting an opt
                out from the SSP for good cause shown, which motion must be filed within




                                                                                                            EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300758 MORTGAGE
                the time delay contained in Section 3, infra.


          IT IS FURTHER ORDERED           that any party filing an opt out motion shall copy the

Special Master, and that the parties shall provide notice of the Court's Order on the motion

to opt out to the Special Master, regardless whether the motion to opt out is granted or

denied.

          JT IS FURTHER     ORDERED       that counsel for any party to a Hurricane Case that

has been provided a copy of this Order shall be required to provide email notice to the

Special Master of the initial pleadings and ail subsequent filings in any Hurricane Case

(knowledge of this provision is presumed where counsel for the party has been provided

a copy of this Order). The Special Master shall send an Initial Informational Package on

the SSP to all parties and/or counsel of record for Hurricane Cases subject to the SSP.




                                 Standing Case Management Order
                                       Hurricane Ida Litigation
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                               SECTION           3. STREAMLINED SETTLEMENT PROCESS                                   ("SSP")

                           Within 30 days of the filing of the defendant's responsive pleading (or within 15

                    days of the transmittal to their counsel of a copy of this Order, including by electronic or

                    other means - whichever is later), either party may file a motion to opt out of this

                    Streamlined Settlement Process ("SSP") for good cause shown. A motion to opt-out of

                    the SSP is not a responsive pleading for any deadline contained in this CMO. Unless the

                    Court authorizes an opt-out, the parties shall participate in the three-stage Streamlined

                    Settlement Process, which Is described as follows:

                          A.     First Stage: Initial Settlement Conference with Special Master. Within




                                                                                                                                                                   BOOK 5014 PAGE 102
                                 30 days of the Disclosure Deadline in all Hurricane Cases, all parties shall
                                 participate in an informal settlement conference with the Special Master or
                                 his Deputy. In light of the COVID-19 pandemic as well as the desire to
                                 resolve the Hurricane                Cases
                                                                as expeditiously as possible, settlement
                                 conferences should be conducted, where possible, by phone or audiovisual
                                 communication,




                                                                                                                                                 EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300753 MORTGAGE
                                                    including but not limited to Zoom, Skype, or similar
                                 platforms. Counsel for each plaintiff and for each defendant must have full
                                 authority from their clients to resolve the case, who shall be readily available
                                 by telephone          if circumstances            for that particular settlement                  conference
                                 require assistance.


                          B.     Second          Stage: Mediation.              Cases that do not resolve during the initial
                                 settlement conference shall be set for a formal mediation. The Special
                                 Master shall assign each Hurricane Case to an Assigned Neutral frorn the
                                 court approved list found in Paragraph B(2) of this Subsection, and it is the
                                 goal   that       Assigned      Neutrals         complete       mediation       within       70     days   of
                                 appointment. The Special Master (or Appointed Neutral for the case) may
                                 seta scheduling conference, or communicate with counsel about availability
                                 through         other means,     but shall seek to schedule the mediations                             in an
                                 expeditious manner at mutually convenient times and dates for all parties.
                                 (1)        Conduct of Mediation.
                                           (a)       After scheduling           of an agreed           mediation,     counsel for each
                                                     party    shall     submit          confidential     statements         solely    to the
                                                     appointed        neutral.     The      appointed      neutral        shall determine,
                                                     after    conferring         with     the   parties,    on      the     length    of the




                                                        Standing Case Management Order
                                                              Hurricane Ida Litigation
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                                               confidential            mediation           statements      and      the        permissible
                                               number of exhibits attached thereto.
                                        (b)     Plaintiff(s) shall be present in-person                          along       with counsel
                                               (subject         to     accommodations                approved           by     the     case's
                                               Appointed             Neutral). Defense             counsel shall also attend in-
                                               person. A representative from defendant(s) is encouraged to
                                               attend, but unless otherwise directed by the Special Master
                                               the defendant(s) representative shall not be required to attend
                                               if counsel for the defendant has full authority to resolve the
                                               case. In addition, a representative of the defendant shall be
                                               readily     available              by   telephone,     if circumstances                for that
                                               particular mediation require assistance.




                                                                                                                                                       BOOK 5014 PAGE 102
                                        {c)    To the extent agreed by the parties and the case's Appointed
                                               Neutral,     thls mediation                 conference     may      be        conducted      by
                                               phone       or        other         means      of    electronic      audio        or     video
                                               communication, including but not limited to Zoom, Skype, or
                                               similar platforms.
                                        (d)    As part of this Streamlined Settlement Process, the attendees




                                                                                                                                                 EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300758 MORTGAGE
                                               may each make opening statements but there shall be no live
                                               witness testimony.
                                (2)    Approved      Neutrals.               The       Court hereby initially designates and
                                       appoints the following individuals as "neutrals" (mediators) for the
                                       SSP:                                   |
                                       (a)     Any       person         designated           by     the   Special            Master      after
                                               consultation with the Court who is qualified pursuant to R.S.
                                               13:4165(F)(5}(6), including:
                                               Hon. Carolyn Gill-Jefferson (ret.)                    Hon. “Rusty” Knight (ret.)
                                               Hon. Cornelius Regan (ret.)                           Hon.Ronald J. Sholes (ret.)
                                               Hon. Franz Ziblich (ret.)                             Ashley Bass, Esa.
                                               Jacques Bezou, Esq.                                   Robert Raymond, Esq.
                                               Biair C. Constant, Esq.                               Bobby M. Harges, Esq.
                                               Michelle Craig, Esq.                                  Ross Legarde, Esq.
                                               Fred Herman, Esq,                                     Jonathan Pedersen, Esq.
                                               Donald Massey, Esq.                                   Chadwick J. Mollere, Esq.
                                               Roger A. Javier, Esq.                                 Bryan Reuter, Esq.
                                               Ronald L. Faia, Jr., Esq.                             Hon. Glenn Ansardi (ret.)
                                               Joseph Hassinger, Esq.                                Stacy Palowsky, Esq.
                                               Brigid Collins, Esq.




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                   (b)        Any person designated as a neutral pursuant to any Case
                              Management Order that the U.S. District Court for the Eastern
                              District of Louisiana may enter in connection with Hurricane
                              ida cases.
            (3)    Neutral Training,         The Special Master may undertake to provide
                   special training to the neutrals, including coordinating participation in
                   training     prepared    for the    Streamlined         Settlement   Process.   The
                   Special Master and his Deputy may jointly form a plaintiffs’ liaison
                   committee and a defense liaison committee or may coordinate with
                   any related Federal Court liaison committees for Hurricane Cases. If
                   formed, the Special Master or his Deputy may solicit input and




                                                                                                                    BOOK 5014 PAGE 102
                   responses concerning commonly occurring legal issues that the
                   liaison committees, from experience, believe may arise in a large
                   number of these cases, along with relevant case law or other
                   authority addressing these issues, While the ultimate determination
                   of any such common issue may well be fact driven, and the outcome
                   of any legal issue will be determined by the Court, the Special Master




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                   or his Deputy may seek this information in order to educate and fully
                   prepare     the appointed        neutrals with    the    hope   of expediting   the
                   settlement process. The Special Master or his Deputy may facilitate
                   discussions by and among the appointed neutrals to promote, to the
                   extent possible, consistency in the resolution of cases.
           (4)     Neutral Reporting. Within 5 days of the mediation date, the Neutral
                  shall inform the Special Master of the outcome of the mediation.
           (5)    Stipulation for Mediation. The Neutral, the Parties and counsel for
                  the    parties   must    execute     the   Stipulation     for Mediation   attached
                  hereto as Exhibit A.


 €.        Third Stage: Final Settlement Conference with Special Master. In the
           event a case does not settle during the Mediation Phase, the parties shall
           participate in a final settlement conference with the Special Master or his
           Deputy. The Special Master should aspire to conduct this final settlement
           conference within 45 days of receiving notice from the Neutral that a
           particular case did not settle during the mediation phase. To facilitate this
           final settlement conference, the Special Master or his Deputy may require
           the parties to submit additional mediation statements and set restrictions
           upon the number and type of exhibits attached thereto. The Special Master




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                                   or his Deputy may also communicate with the Neutral who conducted the
                                   mediation so as to facilitate a productive final settlement conference. A
                                   scheduling order will not be entered by the Court unless the Special Master
                                   or his Deputy have filed a certificate into the record attesting that all parties
                                   have participated in the final settlement conference with the Special Master
                                   or his Deputy.
                        D.         Extensions of Time.             Upon a joint request by the parties, for other good
                                   cause shown, or for case management purposes, the Special Master or his
                                   deputy may extend any deadline specified in this Order by up to 15 days.


                      SECTION 4, COURT APPOINTED UMPIRES REQUIRED UNDER POLICIES

                        If an      Insurance     policy     implicated      in   a   Hurricane     Case     provides     for   court




                                                                                                                                               BOOK 5014 PAGE 102
                 appointment of a neutral or third appraiser for valuation disputes (hereinafter referred to

                 as an "Umpire"), any request for the appointment by this Court of an Umpire shail only

                 occur if the parties have been unable to agree on their own.

                       A.         Where Parties HAVE been allowed to Opt Out of the SSP.                               If any party




                                                                                                                                       EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300758 MORTGAGE
                                  has been permitted to opt out of the SSP following a timely motion for the
                                  same, any party requesting appointment of an Umpire shall file a motion
                                  requesting same with the case's assigned District Judge, which motion shall
                                  be set for contradictory hearing. Counsel for either or both the Insured and
                                  the Insurer may also submit a joint motion requesting appointment of an
                                  Umpire to the Civil Duty Judge, who may agree to hear the motion during
                                  their respective duty week.


                       B.         Where Parties Have NOT Opted Out of the SSP.                          In all other cases, any
                                  request for the appointment by the Court of an Umpire shall be made in
                                  writing   no   later     than    14    days    following   the   filing   of the     defendant's
                                  responsive pleading. Any motion or request for this Court's appointment of
                                  an Umpire shall ba submitted to the Special Master in the same manner as
                                  provided for a discovery dispute under the SSP, and the parties shall notify
                                  the Special Master and transmit the Umpire request to the Special Master
                                  via email at jepedersen@speciaimasterservices.com. The deadline may be
                                  extended by the Special Master in exceptional circumstances.

                       Cc.        Umpire-Only Filing.             lí a requesting party is seeking court appointment of
                                  an Umpire and no case is otherwise filed or pending before this Court (an
                                  “Umpire Only Filing"), then the parties shall follow the same procedures in




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                               Subsection 4(1). Any such request shall be made in writing no later than 14
                               days following the filing of the defendant's responsive pleading, and any
                              such motion or request for this Court's appointment of an Umpire shall be
                               referred to the Special Master under the above captioned general docket
                               created for the Hurricane Cases. The parties shall notify the Special Master
                               and   transmit    the     Umpire    request     to the     Special      Master      via   email    at
                               icpedersen@specialmasterservices.com,                    The deadline may be extended
                               by the Special Master in exceptional circumstances.
                               (1)    An Insurer is required to provide written notice of the request to any
                                      known counsel for the insured (or directly to an unrepresented
                                       Insured). An Insured is required to provide written notice of the
                                      request to any known counsel of Insurer (if any) or alternatively to




                                                                                                                                        BOOK 5014 PAGE 102
                                      the insurer's primary point of contact on the claim with Insured. The
                                      appraisers previously selected by each party shall also be provided
                                      notice, and their contact information (phone and email address) shall
                                      be provided in the request for appointment of an Umpire.
                               {2)    A     written     report    and   recommendation              following   the      Umpire's
                                      appointment shall be issued to the parties, and shall be deemed




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                                      applicable to the parties in the same manner as if made by an order
                                      of the Court unless the report and recommendation is overturned by
                                      the assigned District Judge follawing a motion filed with the assigned
                                       District Judge within seven days of transmittal of the written report.
                               (3)        Inan Umpire Only Filing, the Special Master shall provide the report
                                      and recommendation to the parties, who will in turn provide the same
                                      to the civil Duty Judge as of the time of the issuance of the report
                                      and     recommendations.            Similarly,    the     recommendation            shall   be
                                      deemed applicable to the parties in the same manner as if made by
                                      an order of the Court unless the report and recommendation is
                                      overturned by the civil Duty Judge following a motion filed with the
                                      civil Duty Judge within seven days of transmittal of the written report.


                                      SECTION 5. CLERK OF COURT AND NOTICE

                     A.        Any Plaintiff filing a Hurricane Case should note on its cover letter to the
                               Clerk, in aff CAPS fype and red font (if possible) that the matter is a
                               "HURRICANE              CASE.”      Each      caption          and     on    each         pleading,
                               "HURRICANE CASE" in bold print shall follow the docket number. if
                               the Special Master leams the Order has not been entered by the Clerk of




                                                      Standing Case Management Order
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                   Court, he shall serve it on the parties by email and may file proof of the
                   same into the record at no cost.
         B.        In all    Hurricane     Cases,       a copy           of this     Order    shall   be   served         on     the
                   defendant(s) along with the Petition and Citation. The Clerk of Court shall
                   include a reference that the Case Management Order is served with the.
                   Petition in the Citation issued. The Clerk of Court shall also provide a copy
                   to the plaintiff by any authorized means,
         C.        ‘The Clerk of Courl shall transmit via email, af least weekly, to the Special
                   Master the docket numbers, case caption, and attorney contact information
                   for any Hurricane Cases filed.
         D.       Any party making any filing in a Hurricane Case subject to this Order shall
                   serve a courtesy copy on the Special Master in the same                                         manner as




                                                                                                                                       BOOK 5014 PAGE 102
                   enrolled counsel via email at jcpedersen@speciaimasferservices.cam.


                                     SECTION §. COURT SUPERVISION

         The Disaster Discovery Protocols and Strearniined Settlement Process shall, at all

times,   be subject         to the    ultimate    control          and    supervision        of the   Court.       This        Case




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Management Order for Htrricane Cases is subject to iodification pursuant to further

orders of this Court. All provisions of this Order shall become effective December 1, 2022

and shall be applicable to all cases whether then pending or thereafter filed.
                                                         ES
                                                    ALS Tf.

     ,    BONE AND SIGNED this                    / *                                                               , 2022, at




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 JUDGE NANCY} A. MILLER                                 FUDGE BeSMOND                        Ss TBR: JR.
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          24™ JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                        STATE OF LOUISIANA


                                  IN RE: HURRICANE IDA CLAIMS


 FILED:
                                                                            DEPUTY CLERK
     STIPULATION FOR MEDIATION IN STREAMLINED SETTLEMENT PROGRAM

            IT 1S HEREBY      STIPULATED        AND    AGREED       by and between the undersigned
 parties:
     1. The parties have agreed to submit their dispute to mediation pursuant to the SSP,




                                                                                                                                      BOOK 5014 PAGE 102
        as specified in the Standing Case Management Order (and any relevant
            amendments).


     2.     No party shall be bound by anything said or done during the mediation, unless
            either a written and signed stipulation is executed, or the parties enter into a written
            and signed agreement. The appointed neutral may meet in private conference with




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          less than all parties. Information obtained by the neutral, either in written or oral
          form, shall be confidential and, except as provided by Order of the Court, it shall
          not ba revealed by the neutral unless and until the party who provided that
          information agrees to its disclosure,


     3. The      mediation   process shall be considered           a settlement negotiation for the
          purpose    of all federal and state rules protecting disclosuresmade during such
          conferences from later discovery or use in evidence. The entire procedure shall be
          confidential, and no stenographic or other record shall be made except to
          memorialize a settlement record. All communications, oral or written, made during
          the   mediation    by   any   party   or a   party's   agent,   employee,   or attorney   are
          confidential and, where appropriate, are to be considered work product and
          privileged. Such communications, statements, promises, offers, views and
          opinions shall not be subject to any discovery or admissible for any purpose,
          including impeachment, in any litigation or other proceeding involving the parties.
          Provided, however, that evidence otherwise subject to discovery or admissible is
          not excluded from discovery or admission in evidence simply as a result of it having
          been used in cannection with this mediation process.




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     4. The appointed neutral and his or her agents shall have the same immunity as
        judges and court employees have under Louisiana law and jurisprudence from
        liability for any   act or omission   in connection   with   the   mediation,    and     from
        compulsory    process    to testify or produce   documents     in connection      with    the
        mediation,


     5. The parties (i) shall not call or subpoena the appointed neutral as a witness or
        expert in any proceeding      relating to: the mediation,    the subject matter of the
        mediation, or any thoughts or impressions which the appointed neutral may have
        about the parties in the mediation,        and   (if) shall not subpoena        any    notes,
        documents or other material prepared by the appointed neutral in the course of or
        in connection with the mediation, and (ii) shall not offer into evidence                 any




                                                                                                            BOOK 5014 PAGE 102
        statements, views or opinions of the appointed neutral.


     6. Any party to this Stipulation is required to attend at least one mediation session
        and as may be directed by the Special Master as many other sessions thereafter
        as may be helpful in resolving this dispute.




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     7. An individual with final authority to settle the matter and to bind the party shall
        attend the mediation on behalf of each party.


        Dated:


                                                                                                                o
        First Plaintiff's Signature                         First Defendant's Signature                         £
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        Second Plaintiffs Signature                        Second Defendant's Signature                         =
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        Counsel for Plaintiff                               Counsel for Defendant                               5w
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                                                                                                                  Qa

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        Counsel for Plaintiff                               Counsel for Defendant                               =
                                                                                                                8S
        Appointed Neutral                                                                                       E
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                      24" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                 STATE OF LOUISIANA


                                           IN RE: HURRICANE IDA CLAIMS


              FILED:
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                          STANDING ORDER FOR DISASTER DISCOVERY PROTOCOLS
                    IN CERTAIN PROPERTY DAMAGE SUITS ARISING FROM HURRICANE IDA

                        This Court hereby issues the following Standing Order establishing protocols

               for discovery ("Disaster Discovery Protocols") for all cases involving first-party




                                                                                                                          BOOK 5014 PAGE 103
                insurance property damage claims arising from Hurricane Ida ("Hurricane Cases"),

                            IT IS ORDERED that within forty-five (45) days after the defendant's

                submission of a responsive pleading or motion, the parties must exchange any

                documents    or information listed in these Disaster Discovery Protocols, for any such




                                                                                                                          EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300759 MORTGAGE
               time periods identified in these Disaster Discovery Protocols.

                       IT IS FURTHER ORDERED that all parties shall remain under an ongoing

               duty to supplement their responses.             No extension or delay in the time to file

               responsive pleadings shall extend the Disclosure Deadline to more than seventy

               (75)    days from   the original deadline         to file responsive            pleadings   unless the

               extension is by the consent of all parties or pursuant to an express Order of this

               Court. Nothing in this Section prevents other discovery in accordance with the

               provisions of the Code of Civil Procedure except the restriction on subpoenas and

               subpoenas      duces    tecum     articulated       in   Section      1    of   the   Standing   Case

               Management       Order Regarding       Certain      Property Damages              Suits Arising From

               Hurricane Ida issued on       ecembty       4      , 2022.




                                         Standing Order for Disaster Discovery Protocols
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                      IT IS FURTHER ORDERED              that a party may object to disclosure of these

               Disaster Discovery Materials only if the material is Privileged as that term is defined

               herein. Any party withholding disclosure of any information or documents, where

               said disclosure is required pursuant to the Disaster Protocols, shall produce                     a

               privilege log to opposing      counsel    on or before the Disclosure            Deadline. This

               privilege log shall detail all information or documents that it declined to produce on

               the basis that the material is privileged. The log should include the author of the

               document, the recipient of the document, the date of the document, and the nature

               of the privilege asserted.




                                                                                                                        BOOK 5014 PAGE 103
                     Any dispute concerning privileged items shall be resolved by contradictory

               motion before the assigned District Judge. The District Judge may direct that the

               disputed iterns be provided to the Court for in camera inspection prior to the




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               hearing of the motion.

                     IT IS FURTHER ORDERED that on belief of a party that good cause exists as

               to why a particular case should be exempted fromthe Disaster Protocois, in whole

               or in part, that party must file their objection with the Court prior to the expiration

               of the 45-day period set forth herein.

                                            DISASTER DISCOVERY PROTOCOLS

               PART 1: INTRODUCTION AND DEFINITIONS.

                     (1)    Statement of purpose.

                            a.     These Disaster Discovery Protocols apply to cases involving first-
                                   party    insurance    property    damage      claims   arising   from   natural
                                   disasters ("Disaster Cases"). The Disaster Protocols are designed to
                                   be implemented       by trial judges, lawyers, and litigants in state and
                                   federal courts. The Disaster Protocols make it easier and faster for
                                   the parties and their counsel to: (1) exchange important information
                                   and documents early in the case; (2) frame the issues to be resolved;
                                   (3) value the claims for possible early resolution; and (4) plan for
                                   more efficient and targeted subsequent formal discovery, if needed.
                            b.     The Disaster Protocols are not intended to preclude or modify any
                                   party's rights to formal discovery as provided by law or other

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                                    applicable rules. Responses to the Disaster Protocols do not waive
                                   or foreclose a party's right to seek additional discovery under the
                                    applicable rules.
                                    Except as modified by the Court, these Disaster Discovery Protocols
                                   were prepared by a balanced group of highly experienced attorneys
                                   from across     the   country    with    expertise         in Disaster       Cases.    The
                                   Disaster Protocols require parties to exchange                          information    and
                                   documents      routinely   requested         in    every         disaster     case.    The
                                   information    and    documents         required     to     be     produced      includes
                                   favorable as well as unfavorable information and documents,                               is
                                   limited   to information       and    documents           that    are    not subject     to
                                   objection, and is limited to the information and documents most likely




                                                                                                                                   BOOK 5014 PAGE 103
                                   to be important and useful in facilitating early settlement discussion
                                   and resolving or narrowing the issues.
                     (2)    Definitions. The following definitions apply to these Disaster Discovery
                            Protocols:

                            a.     Claimed floss. "Claimed Loss" means the loss or damage that the
                                   Insured seeks to recover from the Insurer in the litigation.




                                                                                                                                  EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300759 MORTGAGE
                                   Document. "Document" and 'documents” are defined to be
                                   synonymous in meaning and equal in scope to the phrase
                                   “documents or electronically stored information" in FRCP 34(a){I (A)
                                   or similar state rules. A draft of a document or a nonidentical copy is
                                   a separate document,

                                   Event. "Event" means the disaster alleged to have caused the
                                   insured's Claimed Loss.

                                   identify (Documents). When referring to documents, to "identify"
                                   means to describe, to the extent known: (i) the type of document; (ii)
                                   the general subject matter; (iii) the date; (iv) the author(s), according
                                   to the document; and (v) the person(s) to whom,                         according to the
                                   document,     the document           (or a copy) was             to have      been    sent.
                                   Alternatively, to "identify" a document means to produce a copy.

                                   identify (Natural Persons). When referring to natural persons, to
                                   "identify" means to give the person's: (i) full name; {ii} present or last
                                   known address and telephone number; (iii) email address; (iv)
                                   present or last known place of employment; (v) present or last known
                                   Job title; and (vi) relationship, if any, to the parties. Once a person
                                   has been identified in accordance with this subparagraph, only the
                                   name of that person need be listed in response to subsequent
                                   requests to identify that person.

                                   Identify (Non-Natural Persons              or Entities). When               referring to a
                                   corporate entity, partnership, or other unincorporated association, to
                                   "identify" means to give the: (i) corporate or entity name and, if
                                   known, the trade or other names under which it has done business
                                   during the relevant time period; (ii) state of incorporation or
                                   registration; (ili) address of its principal place of business; (iv) primary
                                   phone number; and (v) internet address. Once a corporate or other

                                       Standing Order far Disaster Discovery Protocols
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                business     entity     has   been         identified   in   accordance       with    this
                subparagraph, only the name of that entity needs to be listed in
                response to subsequent requests to identify that entity.

        g.      Insurer.    “Insurer”    means       any     person     or entity   alleged    to    have
                insured the Property that is the subject of the operative complaint,
                unless otherwise specified.

        h.      insured. "Insured" means any named individual(s), corporate
                entity{ies), partnership(s), or other unincorporated association(s)
                alleging property damage as an Insured in the litigation, or asserting
                a claim under an assignment.

        i,      Loss. "Loss" means damage to the Property caused by the Event.

       ji       Other Insurance. “Other Insurance" means any insurance policy,
                other than the Policy in force on the date of the Event, that covers or
                patentially covers the Property or the Claimed Loss.




                                                                                                                   BOOK 5014 PAGE 103
        k.      Policy, "Policy" means the insurance policy alleged to cover some
                or all of Insured's Ciaimed Loss that is the subject of the Insured's
                claim in the litigation.

        L      Privilege. “Privilege” means information and documents that are
               protected from disclosure by the attorney-client privilege, or work-
               product protection, including any joint defense agreement. privilege




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               may properly be asserted include communications that reflect the
               mental impressions, conclusions, opinions, or theories of an
               attorney. Documents routinely prepared in the ordinary course of
               business, including but not limited to adjusters’ reports, and other
               expert analyses, including draft reports, are not privileged and should
               be produced.

        m.     Property. "Property" means the property (building or contents) that
               the Insured claims coverage for under the Policy in the litigation.

       n.      Relating to. "Relating to" means concerning, referring, describing,
               evidencing, or constituting.


(3) Instructions.

       a.      The relevant time period for this Disaster Discovery begins on the date
               immediately before the Event and ends on the date the lawsuit is filed
               for the Claimed Loss, unless a different time period is indicated with
               respect to a specific production obligation as set out inPart 2 or Part
               3 below.

       b.      This Disaster Discovery is presumptively not subject to any
               objections except for attorney-client privilege or work-product
               protection, including a joint defense agreement. Documents withheld
               based on a privilege or work-product protection claim are subject to
               expressly making the claim. A detailed privilege log is required as
               specified in this Order or any subsequent Orders of the Court,
               otherwise documents withheld as privileged or work-product
               protected communications may be described briefly by category or
               type. Withholding documents on this basis does not alleviate any
               obligation     to   produce       the       withheld     documents      or     additional
               information about them at a later date, if the Court orders or the
               applicable rules require production.
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                                      if a partial or incomplete or “unknown at this time" answer or
                                      production is given to any disclosure requirement in these Disaster
                                      Discovery Protocois, the responding party must state the reason that
                                      the answer or production is partial, incomplete, or unknown and
                                      when supplemental information or documents providing a complete
                                      response will be produced.

                                      For this Disaster Discovery, a party must disclose information and
                                      documents that the disclosing party has in its possession, custody,
                                      or control and that are reasonably available. This Disaster Discovery
                                      is subject to obligations on supplementation and relevant
                                      requirements      concerning            certification       of     responses.       This       Initial
                                      Discovery does not preclude either party from seeking additional
                                      discovery at a later date.

                                      This Disaster Discovery is subject to the attached Interim Protective
                                      Order unless the parties agree or the court orders otherwise. The




                                                                                                                                               BOOK 5014 PAGE 103
                                      Interim Protective Order will remain in place until and unless the
                                      parties agree on, or the court orders, a different protective order.
                                      Absent party agreement or court order, the Interim Protective Order
                                      does not apply to subsequent discovery.

                                      Within    14 days     after the filing of a responsive                        pleading     by the
                                      responding party, the Parties shall meetand confer on the format
                                      (e.g.,   searchable       PDF,        Excel    spreadsheet)
                                                                                                for the production                        of




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                                      documents under these Disaster Protocols. This will not delay the
                                      timeframes      for   Initial        Discovery,       absent         court     order.    Nor      will
                                      production in one format preclude requesting production in another
                                      format, if applicable rules of discovery allow.

               PART 2: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURED

                     (1)    Timing.

                            Unless the Court orders otherwise, the Insured's Initial Discovery responses
                            must      be   provided    within    45        days     after   the        Insurer     has   submitted         a
                            responsive pleading or motion (its first filing in this Court.)

                     (2)    Information to be produced by the Insured:

                            a.        A description of the Insured's ownership or other interest in the
                                      Property.

                                      The address of the Property (or location of movable Property) on the
                                      date of the Event.

                                      The name of each Insurer and all policy numbers for each Policy or
                                      Other insurance held by or potentially benefitting the Insured or the
                                      Property on the date of the loss, including relevant policy and claim
                                      numbers for any claims.

                                      identify any current mortgagee or other known lien holder,

                                      A computation         of each item or type of Claimed                          Loss, including
                                      contents claims if in dispute. When the Policy requires, the.
                                      computation should reasonably identify or itemize price and quantity
                                      of materials.


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                                      Identify any payments received under the Policy relating to the Event.
                                     Identify the source and amount of any payments received after the
                                     Event from Other Insurance, or any other source, for all or any part
                                     of the Loss.

                                      Identify any grant or other similar program that the Insured applied
                                     for after the Event, including a Small Business Administration loan,
                                     seeking payment for all or any part of the Loss.

                                      Identify     the   public   or       other   adjusters,     estimators,     inspectors,
                                     contractors, engineers, or other persons engaged by or on behalf of
                                     the Insured relating to the Claimed Loss.

                                     With respect to any Other insurance, all policy numbers, the name of
                                     each insurer, and claim and docket numbers for any claims madefor
                                     coverage by the Insured on the same                        Property at issue in this
                                     litigation.




                                                                                                                                   BOOK 5014 PAGE 103
                                     identify the source and amount of any payments received after the
                                     Event from Other Insurance, or any other source, for all or any part
                                     of the Loss.

                                     A general description, Including the court and docket number, of any
                                     other lawsuits arising from the Event relating to the Property.

                                     A general description of any known                    preexisting damage             to the




                                                                                                                                   EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 11 12300759 MORTGAGE
                                     Property relating to the Claimed Loss.

                                     A general description of any claims for property damage or lawsuits
                                     resulting from property damage in the past ten years relating to the
                                     Property.

                                     Identify any sale, transfer, or foreclosure of the Property after the
                                     Event.

                       (3)    Complete and unaltered copies of the following documents to be produced
                              by the insured:

                              a.     Documents relating to the Claimed Loss, including: loss estimates;
                                     adjuster's reports; engineering reports; contractors reports;
                                     estimates, bids, plans, or specifications regarding repair work
                                     (whether planned, in progress, or completed); photographs; videos;
                                     or other materials relating to the Claimed Loss, along with any
                                     receipts, invoices, and other records of actual costs to repair or
                                     replace the Claimed Loss. This shall include all reports or analyses,
                                     including draft reports, prepared on behalf of Insured.

                                     Proofs of loss for the Claimed Loss.

                                     Documents relied on by the Insured in generating any proof of loss
                                     required or provided under the Policy.

                                     Written       communications           exchanged      between      the     Insured     and
                                     Insurer that refer or relate to Insured’ s Claimed Loss, the Property,
                                     or damages, or otherwise relating to the Insured’ s claim.

                                     Photographs and videos of the Property taken for the purpose of
                                     documenting the condition of the Property, including photographs
                                     and videos of the Loss.

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             Í.        Written communications, photographs, or estimates of damages
                       sought from or paid by any other insurer related to the Event.

             g.        The insurance policy with respect to any Other Insurance, and the
                       claim numbers for claims made to recover Loss to the Property
                       relating to the Event.

             h.        Appraisals or surveys of the Property condition within five years
                       before, or any time after, the Event.

             i,        If there has been an appraisal under the Policy, documents relating
                       to the appraisal process.

             j.        Any other document(s) on which the Insured relies to support the
                       Claimed Loss.

PART 3: INFORMATION          AND DOCUMENTS            TO BE PRODUCED         BY THE INSURER.




                                                                                                        BOOK 5014 PAGE 103
     (1)     Timing.

             Unless the court orders otherwise, the Insurer's Initial Discovery responses
             must be provided within 45 days after the Insurer has submitted a
             responsive pleading or motion (its first filing in this Court in response or
             answer to the plaintiffs claim). The disclosures related to Insurers and the
             use of the term “Insurer” under this Part shall extend to anyone acting for or




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             on behalf of the Insurer in relation to the claim of the insured, including the
             employees, contractors, and agents of either the Insurer or anyone
             providing services to the Insurer related to the Insured's claim or Claimed
             Loss.

     {2}   — Information to be produced by the Insurer:

             a.        If there      is a dispute   over   coverage,     in whole   or in part,   an
                       explanation of the Insurer's reason for the denial of coverage,
                       including:
                               i.       Any exclusions or exceptions, or other coverage or
                                        legal defenses;
                              il.       The factual basis for any exclusion,          limitation,
                                        exception, or condition-based dispute or defense;
                              iii.      Whether there is also a dispute as to the value or
                                        amount of the Claimed Loss;
                              iv.       Any other basis on which coverage was denied.

             b.        If there is a dispute over ali or part of the valuation, an
                       explanation of the Insurer's basis for disputing the value or amount
                       of the Claimed Loss, including:
                              i.     The Insurer's understanding of the nature of the
                                        dispute;
                              i.        The amount the Insurer disputes and the basis for that
                                        dispute, including any applicable Policy provisions that
                                        the Insurer alleges or believes are relevant to the
                                        dispute; and
                              if.       The amount the      Insurer agrees   to pay,   if any, with
                                        respect to any undisputed part of the Claimed Loss.

             C.        Any Policy terms or conditions that the Insurer alleges the Insured
                       failed to comply with, including conditions precedent or other terms.


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              Any payments previously made under the Policy relating to the
              Event.

              A general description of any other basis for nonpayment of the
              Claimed Loss, in whole or in part.

              Any other Event-related lawsuits filed for the Property or the Insured.

              Identify the adjuster(s) who handied the claim.

              Identify the individual(s) who evaluated, recommended, made,
              approved,   or rejected the claims decision.

              Identify the field personnel, estimators, inspectors, contractors,
              engineers, or other persons who participated in any investigation of
              the claims or the claims process, had any part relating to Insurer's
              evaluation process for the claims, or upon who the Insurer relied
              upon or received information from concerning Insurer's evaluation




                                                                                                                   BOOK 5014 PAGE 103
              process or claim decision; and identify anyone who had any role in
              drafting, editing, reviewing, or approving any report(s), evaluation(s),
              or inspection(s) on behalf of Insurer involving the Insured's claim.

              If preexisting   damage       is     at   issue   in     the   Jitigation,   a   general
              description of any prior claims in the past ten years for the Property.

(4)   Complete and unaltered copies of the following documents to be produced




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      by the Insurer:

            - The entire claim file maintained by the Insurer.

      b.      The complete Policy in effect at the time of the Event.

              Assessments of the Claimed Loss, including: loss reports, expert
              reports that contain any description or analysis of the scope of loss
              or any defenses under the Policy, damage assessments, adjuster's
              reports, engineering reports, contractor's reports, and estimates of
              repair or replacement. This shall include all reports or analyses,
              including ali drafts, prepared as part of the evaluation or claims
              process involving insured's claim by Insurer, or documents or
             records reviewed in any way in connection with Insurer's handling of
             the claim.

              Photographs and videos of the Property taken for the purpose of
              documenting the condition of the Property, including photographs
              and videos of the Claimed Loss.

             Any other evaluations of the Claimed Loss.

              Documents - containing             recordings,         transcripts,    or    notes    of
             statements, conversations,           or communications            by or between       the
              Insurer and the Insured relating to the Event.

             Any claim log, journal, diary, or record maintained by the Insurer
             relating to the Claimed Loss. This includes all written records, written
             communications, records of oral communications, reports, audits, or
              other records, including any documents, envelopes, logs or other
              documents evidencing when Insurer came into possession of any
              such records, regarding any aspect of the Insured's claim or that are
              in any way relating to the Insurer's investigation into the Claimed

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                                                     Loss, Insurer's processing of insured's claim (including adjustment,
                                                     evaluation, and handling). or insurer's claim decision,

                                              h,     The complete underwriting file maintained by the insurer relating to
                                                     ihe Property, its conditions, or coverage.

                                              L      Proofs of loss for the Claimed Loss.

                                          3          if there has been an appraisal under the Policy, all documents
                                                     relating to the appraisal process.

                                              k.     Any manuals, policies, directives, guidelines, instructions (whether
                                                     written, electronic, or otherwise), fiterature, or similar written
                                                     materials that would pertain to the Claimed Loss, Hurricane or to
                                                     similar types of claims, generally such that they would therefore be
                                                     applicable to the Hurricane Case including the insured's claim. This
                                                     inctudes any document that Insurer relied upon. or intends to rely
                                                     upon,     pertaining      to industry          guidelines,   standard      practices,   or
                                                     recommended practices for adjustingfirst party claims.




                                                                                                                                                        BOOK 5014 PAGE 103
                                          L          For non-NFIP Claims, written communications exchanged between
                                                     the Insured and insurer that refer or relate to Insured's Claimed Loss,
                                                     Property, or damages, or otherwise relating to the insured's claim,

                                          m.       — Any other document(s)            on which the Insurer relies to support                 its
                                                     defenses.

                                   DONE AND SIGNED this                 =f 7                                                 , 2022, at Gretna,




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                                                         Standing Order for Disaster Discovery Protocols
                                                                     Hurricane Ida Litigation
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                        24" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                               STATE OF LOUISIANA


                                                   IN RE: HURRICANE IDA CLAIMS




                          The Disaster Discovery Protocois for First-Party Insurance Property Damage

                    Cases for all cases involving first-party insurance property damage claims arising from

                    Hurricane Ida ("Hurricane Cases”) are designed to achieve more efficient and targeted

                discovery. Prompt entry of a protective order will allow the parties to begin exchanging




                                                                                                                                                                      BOOK 5014 PAGE 104
                documents and information without delay. This Interim Protective Order will remain in

                place until the parties agree to, or the Court orders, a different protective order, but absent

                agreement         or court order,        the    Interim     Protective       Order      will   not apply to discovery

                conducted after the parties complete the Streamlined Settlement Program. The parties




                                                                                                                                                    EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300760 MORTGAGE
                may agree to use the interim Protective Order throughout litigation.

                          IT IS HEREBY ORDERED                  that the following restrictions and procedures apply to

                certain information, documents, and excerpts from documents and information the parties

                exchange in response to the Disaster Discovery Protocols:


                          1.       Any party may designate as “Confidential” any document, or information
                                   contained in or revealed in a document,                         provided in response to these
                                    Protocols or, if applicable, in subsequent discovery, if the party determines,
                                   in good     faith,    that the     designation          is necessary             to protect   the     party.
                                   information     and     documents           a party      designates         as     confidential     will    be
                                   stamped      “CONFIDENTIAL.”               Confidential         information        or documents            are
                                   referred to collectively as “Confidential Information.”

                         2.        Unless the court orders otherwise, the Confidential Information disclosed
                                   will be held and may be used by any person receiving the information solely
                                   in this litigation.




                                           Interim Protective Order for Disaster Discovery Protocols
                                                             Hurricane Ida Litigation
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                         3.     if a party challenges another party’s Confidential information designatio
                                                                                                          n,
                                counsel must make a good-faith effort to resolve the dispute. if that is
                                unsuccessful,         the challenging   party may        seek     resolution   by the    Court.
                                Nothing in this Interim Protective Order is an admission by any party that
                                Confidential Information disclosed in this case is relevant or admissible.
                               Each party specifically reserves the right to object to the use or admissibility
                               of all Confidential Information disclosed, in accordance with applicable law
                               and court rules.

                     4.        Information      or     documents    designated      as     “Confidential”      must     not   be
                               disclosed fo any person, except:

                                   a. the requesting party and counsel, including in-house or agency
                                      counsel;




                                                                                                                                                         BOOK 5014 PAGE 104
                                   b. employees of counsel assigned to and necessary to assist in the
                                        litigation;

                                   ¢. consultants or experts assisting in the prosecution or defense of the
                                      litigation, to the extent deemed necessary by counsel;




                                                                                                                                   EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300760 MORTGAGE
                                   d.   any person from whom testimony is taken or is to be taken in this
                                        litigation, but that person may be shown the Confidential information
                                        only in preparation for, and during, the testimony and may not retain
                                        the Confidential Information;

                                  e. The judge, the court staff, including the clerk, case manager, court
                                        reporter, or other person with access to Confidential Information by
                                        virtue of his or her position with the court, or the jury; and

                                  f.    The Special Master, Deputy            Special Master,
                                                                                        and any mediator
                                        involved in resolving the case, who shall all be subject to these
                                        confidentiality provisions.

                    5.         Before disclosing or displaying Confidential Information to any person, a
                              party must:

                                  a.    inform the person of the confidential nature of the information and
                                        documents; and

                                  b. inform      the person      that the court has             enjoined   the use      of the
                                        information or documents for any purpose other than this litigation
                                        and has enjoined the disclosure of that information or documents to
                                        any other person,



                                        Interim Protective Order for Disaster Discovery Protocols
                                                          Hurricane Ida Litigation
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                        The Confidential Information may be displayed to and discussed with the
                        persons identified in Paragraphs 4(c) and (d) only on the condition that
                        before any such display or discussion, each person must be asked to sign
                        an agreement to be bound by this Order in the form detailed in Section 6(a),
                        infra.

                        6(a).    The Confidentiality Agreement shall read as follows:

                                  | have been informed by counsel that certain documents or
                                  information to be disclosed to me in connection with the matter
                                  entitled [CASE CAPTION] have been designated as
                                  confidentiai. | have been informed that any of the documents
                                  or information labeled “CONFIDENTIAL” are confidential by
                                  Order of the Court.
                                  ] hereby agree that | will not disclose any information




                                                                                                                    BOOK 5014 PAGE 104
                                  contained in the documents to any other person. | further
                                  agree not to use this information for any purpose other than
                                  this litigation.
                                                                       DATED:
                                  Signature of [NAME]


                                                                      DATED:




                                                                                                                     EFILE: 01/05/2023 12:51 PM JEFF PAR 7417832 david $0.00 ::: 12300760 MORTGAGE
                                  Signature of Counsel


                         6(b). If the person refuses to sign an agreement in the form attached, the
                                  party seeking to disclose the Confidential Information may seek relief
                                  from the court.

                         The     disclosure     of a document       or information without designating     it as
                         “Confidential        Information”   does    not waive    the right to designate     the
                         document or information as Confidential Information if the document or
                         information is designated under this Order.

                         Documents or information filed with the court that is subject to confidential
                         treatment under this Order, and any pleadings, motions, or other papers
                         filed with the court disclosing any Confidential Information, must be filed
                         under seal to the extent permitted by the law, rules, or court orders, and
                         must be kept under seal until the court orders otherwise. To the extent the
                         court requires any further act by the parties as a precondition to filing the
                         documents or information under seal, the party filing the document or
                         information is responsible for satisfying the requirements. If possible, only
                         the confidential parts of documents of information filed with the court will be
                         filed under seal.



                                   Interim Protective Order for Disaster Discovery Protocols
                                                     Hurricane Ida Litigation
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                            5,            At the conclusion of this litigation, the Confidential Information and any
                                          copies must be promptly {and in no event later than 60 days after entry of
                                          final judgment no longer subject to appeal) returned to the producing party
                                          or certified as destroyed, except that the parties’ counsel may retain their
                                          working         files on the              condition     that those    files will remain    confidential.
                                          Materials filed in the court will remain in the file unless the court orders their
                                          return.

                            10.           Producing documents or information, including Confidential Information, in
                                          this       litigation    does           not   waive    attorney-client    privilege    or work-product
                                          protection for the decuments or information.

                            This Order does not diminish the right of any party to apply to the Court for a




                                                                                                                                                                           BOOK 5014 PAGE 104
                     different or additional Protective Order relating to Confidential Information, to object to the

                     production of documents or information, to apply to the court for an order compelling

                 production of documents or information, or to modify this Order. Any party may seek

                 enforcement of this Order.
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                             AND SIGNED                           this       _£    £  dayof__*                     Sue           , 2022, at Gretna,
               Jefferson Parish, Louisiana.

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                 CHIEF JUDGE                                                                     DIVISIONMA>
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                JUDGE MICHAEL P. MENTZ. 3                                                        TUDOE E. ADRIAN ADAMS
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                                                                        Hurricane Ida Litigation
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                     JUDGE DONALD “CHICK” PORET                            JUDGE STEPHEN €. GREFER
                     DIVISION “Hr                                          DIVISION “y




                     JUDGE ELLEN SHIRBR KOVACH                             JUDGE DONALD A. ROWAN, IR.
                     DIVISION “K?         é ,                              DIVISION *L*         SE)

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                 JUDGE SHAYNA BEEVERS MORVANT                              JUDGE STEPHEN D. ENRIGHT, JR.
                     DIVISION “Mi                                         DIVISION “N?




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                      24™ JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                        STATE OF LOUISIANA


                                                 IN RE: HURRICANE IDA CLAIMS


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                              STANDING CASE MANAGEMENT ORDER REGARDING
                      CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA,
                                  EXHIBIT A; LIST OF APPOINTED NEUTRALS
                           IT iS HEREBY         ORDERED      that the following individuais shall supplement and

                  comprise the Appointed Neutrals referenced in the Standing Case Management Order,




                                                                                                                                           BOOK 5033 PAGE 85
                  Section 3(B)(2)(a), infra, and are hereby appointed and shall proceed with all reasonable

                  diligence and shall exercise their rights and responsibilities under the Streamlined

                  Settlement Process ("SSP") as the Special Master may direct.




                                                                                                                                 EFILE: 06/13/2023 11:07 AM JEFF PAR 7580166 david $0.00 ::: 12325320 MORTGAGE
                                 (2)      Approved Neutrals. The Court hereby designates and appoints the
                                       following individuals as "neutrals" (mediators) for the SSP:
                                          (a)     Any     person      designated       by    the     Special    Master   after
                                                  consultation with the Court who is qualified pursuant fo R.S.
                                                   13:4165(F)(5)(6), including:
                                                  Hon. Carolyn Gill-Jefferson (ret.) Hon. “Rusty” Knight (ret.)
                                                  Hon. Cornelius Regan (ret.)                    Hon.Ronald J. Sholes (ret.)
                                                  Hon. Franz Zibilich (ret)                      Ashley Bass, Esq.
                                                  Jacques Bezou, Esq.                            Hon. Glenn Ansardi (ret.}
                                                  Blair €. Constant, Esq.                        Robert Raymond, Esq.
                                                  Michelle Craig, Esq.                           Bobby M. Harges, Esq.
                                                  Fred Herman, Esq.                              Ross Legarde, Esq.
                                                  Donald Massey, Esq.                            Jonathan Pedersen, Esq.
                                                  Roger A. Javier, Esq.                          Chadwick J. Mollere, Esq.
                                                  Ronald L. Faia, Jr., Esq.                      Brian Reuter, Esq.
                                                  Joseph Hassinger, Esq.                         Brigid Coliins, Esq.
                                                  Stacy Palowsky, Esq.                           Charles Cusimana, IV, Esq.
                                                  Christy Remy, Esq.                             Harold Adkins, Esq.
                                                  David Bienvenu, Esq.                           Mark Tauzier, Esq.
                                                  Jack Morris, Esq.                              Lacy Smith, Esq.
                                                  Dustin Carter, Esq.                            Eric Nowak, Esq.



                                                     Standing Case Management Order
                                        Hurricane [da Litigation, Exhibit A: List of Appointed Neutrals
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                                                    ib}       Any person designated as a neutral pursuant to any Case
                                                              Management Order that the U.S. District Cour for the Eastern
                                                              District of Louisiana may enter in connection with Hurricane
                                                              ida cases.

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                         DONE         AND           SIGNED this       fF &           day of ALI                         , 2023, at
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            JUDGE R. CHRISTOPHER Cox                                       *a         “ae                   BERRY DARENSBYRO
            DIVISION “B”                                                              pyyjsioxt “CP

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            JUDGE SCOTT U. SCHLEGEL                                                       JUDGE FRANK A. BRINDISI
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            JUDGE MICHAELÉ. MENTZ                                                    Ape E, ADRIAN ADAMS
            DIVISION «fp»                       &                                     DIVISION “G”




            JUDGE DONALD “CHICK” FORET                                                JUDGE STEPHEN C. GREFER
            DIVISION “H”                                                              DIVISION “3”                  :




                                                                Standing Case Management Order
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    JUDGE ELLEN SHIRER KOVACH                                   JUDGEDONALDA. ROWAN, ES
    DIVISION “K>»                                               DIVISION “L”         j                    i




    JUDGE SHAYNA               SERVERS MORVANT                 JUDGE STEPHEN D. ENRIGHT,            JR.
    DIVISION “M”                                               DIVISION “N’


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                                            Standing Case Management Order
                           Hurricane fda Litigation, ExhibitA; List of Appolnted Neutrals
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                                  24% JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                           STATE OF LOUISIANA

                                                                 DIVISION "I"

                                                     IN RE: HURRICANE IDA CLAIMS


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                                                             STANDING ORDER

                                 Considering the Standing Case Management Order regarding Hurricane Ida Claims

                        signed by this court en banc on December 29, 2021,

                                 IT IS HEREBY ORDERED that “Hurricane Ida Claims” allotted to Division I shall not

                    be subject to the special master provisions of the Standing Case Management Order Regarding




                                                                                                                                                              BOOK 4973 PAGE 81
                    Certain Property Damages Suits Arising from Hurricane Ida, but shall proceed before the District

                    Judge;

                                 IT IS FURTHER ORDERED that any party to a “Hurricane Ida Claim” who wishes to




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                    opt-in to special master provisions of the Standing Case Management Order Regarding Certain

                    Property Damages Suits Arising from Hurricane Ida may file with the District Judge either a

                    consent motion to opt-in signed by ali counsel, or, if not by consent, a motion to opt-in which

                    shall be set for contradictory hearing and may be granted for good cause shown.

                              READ, RENDERED AND SIGNED at Gretna, Louisiana, this 1% day of February,

                   2022.

                                                                              MioNANEY QS
                                                                                       A. MILLER




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